290 F.2d 386
    Wilmurt B. LINKER, Appellant,v.Charles Edward RHETTS, Appellee.
    No. 16103.
    United States Court of Appeals District of Columbia Circuit.
    Argued April 25, 1961.
    Decided May 11, 1961.
    
      Mr. Sidney Pepper, New York City, of the bar of the Court of Appeals of New York, pro hac vice, by special leave of court, for appellant. Mr. Harry E. Howell, New York City, was on the brief for appellant.
      Mr. Warner W. Gardner, Washington, D. C., with whom Mr. Lawrence J. Latto, Washington, D. C., was on the brief, for appellee.
      Before WILBUR K. MILLER, Chief Judge, and EDGERTON and DANAHER, Circuit Judges.
      PER CURIAM.
    
    
      1
      Wilmurt B. Linker was a member of a New York law firm which for some time represented Bofors, a Swedish gun manufacturer, in asserting a claim against the United States Government. He engaged the appellee as an associate. Their efforts being unsuccessful, they were paid and dismissed in 1948 by Bofors, which said the matter "has now been dropped."
    
    
      2
      About a year later, Bofors employed Rhetts alone, this time authorizing suit which it had formerly refused to permit. After about ten years of litigation solely handled by him, Rhetts collected $4,000,000 for Bofors from the United States.
    
    
      3
      As assignee of his law partnership, Linker sued Rhetts to recover a portion of the fee paid to him by Bofors. We agree with the District Court that the former employment of the New York firm and Rhetts was definitely terminated by Bofors, and that thereafter the former had no right to share in the fee Rhetts earned in the new, independent employment in which Linker and his partnership had no part.
    
    
      4
      Affirmed.
    
    